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 3
                               UNITED STATES DISTRICT COURT
 4                            WESTERN DISTRICT OF WASHINGTON
                                        AT TACOMA
 5
        UNITED STATES OF AMERICA,                         CASE NO. CR08-5533BHS
 6
                          Plaintiff-Respondent,           ORDER DENYING MOTION FOR
 7                                                        REDUCTION OF SENTENCE
                 v.
 8
        URIEL VALDOVINOS-TORRES,
 9
                          Defendant-Movant.
10

11         This matter comes before the court on Defendant-Movant Uriel Valdovinos-Torres’

12 (Valdovinos-Torres) Motion to Reduce Sentence Pursuant to 18 U.S.C. § 3582(c)(2). Dkt. #

13 269. The court has reviewed the motion and the government’s response (Dkt. 273), and finds

14 that because the sentence that Valdovinos-Torres is serving is the applicable mandatory

15 minimum sentence of ten years (120 months) required by 21 U.S.C. § 841(b)(1)(A), Defendant is

16 ineligible for a reduction in sentence because his sentence was a mandatory minimum sentence,

17 not a sentence based on the Sentencing guidelines. NOW, THEREFORE,

18         IT IS HEREBY ORDERED that Valdovinos-Torres’s Motion to Reduce Sentence

19 Pursuant to 18 U.S.C. § 3582(c)(2) is DENIED.

20         Dated this 26th day of March, 2015.




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                                                  BENJAMIN H. SETTLE
24                                                United States District Judge


     ORDER - 1
